            Case 3:05-cr-00118-MMC          Document 49       Filed 07/14/06   Page 1 of 2



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 9                               UNITED STATES DISTRICT COURT
10                           NORTHERN DISTRICT OF CALIFORNIA
11                                               –ooo–
12
      UNITED STATES OF AMERICA,
13                                                    CR. 05-118-MMC
                    Plaintiff,
14
      vs.                                             STIPULATION TO CONTINUE
15                                                    STATUS CONFERENCE; ORDER
                                                      THEREON
16    FAUSTINO AGUAYO, et al.,

17                  Defendants.

18                                                /

19          Defendant FAUSTINO AGUAYO, by and through his counsel of record
20   Randy Sue Pollock, and Assistant U.S. Attorney David Hall hereby stipulate and agree
21   that the status conference presently set for Wednesday, July 26, 2006, be continued until
22   August 2, 2006, at 2:30 p.m.
23          A motion to suppress will be heard on July 18, 2006, before the Honorable
24   Marilyn H. Patel in a case that is related to this prosecution. Defendant Aguayo’s
25   telephone was the subject of the wiretap in that case. The results of the suppression
26   motion in that case will affect the disposition in this case.
27          Ms. Pollock has advised all counsel in this case of the requested continuance and
28   none have objected.
            Case 3:05-cr-00118-MMC         Document 49      Filed 07/14/06    Page 2 of 2



 1          The time period from July 26, 2006 to August 2, 2006 would be deemed
 2   excludable pursuant to 18 U.S.C. Section 3161(h)(8)(A), given that the ends of justice
 3   served by granting a continuance outweigh the best interests of the public and of the
 4   defendant in a speedy trial.   Additionally, pursuant to 18 U.S.C. Section
 5   3161(h)(8)(B)(ii) given the nature of the prosecution, the volume of the evidence, the fact
 6   that wiretaps were involved as well as pending motions in a related case, it is
 7   unreasonable to expect adequate preparation for pretrial proceedings and for the trial
 8   within the time limits established by the Speedy Trial Act.
 9
10
11    Date: July 10, 2006                        (S) Randy Sue Pollock
12                                               RANDY SUE POLLOCK
                                                 Counsel for Defendant
13                                               FAUSTINO AGUAYO
                                                 On Behalf Of All Defendants
14
15   Date: July 10, 2006                       _(S) David Hall
                                               DAVID HALL
16                                             Assistant United States Attorney
17
18
19   SO ORDERED.
20   Dated: July 14, 2006
21                                             MAXINE M. CHESNEY
                                               United States District Court Judge
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